             Case 2:13-cv-00193 Document 775-40 Filed on 11/19/14 in TXSD Page 1 of 3



                      TEXAS DEPARTMENT                                                     OF PUBLIC SAFETY
                                       5805 N          MAR BLVD           BOX 4087 e AUSTIN               TEXAS 787730001
                                                                            51214242000
                                                                        wwwdpstexasgov




STEVEN   C McCRAW                                                                                                                                COMMISSION
    DIRECTOR                                                                                                                                A CYNTHIA LEON CHAIR
 DAVID   GBAKER                                                                                                                              CARIN MARCY BARTH
 CHERYL MacBRIDE                                                                                                                                 ADA BROWN
DEPUTY DIRECTORS                                                                                                                             ALLAN B POLUNSKY
                                                                                                                                               RANDY WATSON

                                                                       September          24 2013




   The Honorable        Rodney        Ellis


   Texas Senate

   PO Box 12068

   Austin TX        78711



   Dear Chairman        Ellis




   Thank     you for giving the Texas            Department           of Public Safety        DPS the opportunity to address your concerns
   regarding implementation of the voter photo                           identification       law with respect to warrant checks            on persons

   applying for      an Election Identification              Certificate    EIC

   While our driver license system                is   set   up to routinely run warrant checks                    on persons conducting      driver

   license transactions         in   our offices       this is   not the case with ElCs Please be assured that we do not check                          for

   warrants       on EIC applicants       at    any stage of the process                  Every qualified     applicant   who    presents   proper
   documentation        will    immediately be issued              a    paper receipt valid for 30 days which may be used for voting

   pending receipt       of the actual          EIC card     in the     mail



   As you are aware the Legislature entrusted                           DPS with the        responsibility for issuing Election Identification

   Certificates a responsibility we               do not take lightly           It   is   our intent to do everything          possible within   our area

   of responsibility to ensure that every                    eligible   Texas voter has ample opportunity to obtain as conveniently

   as possible      photo identification required to comply                      with the voter ID law



   Our effort to ensure accessibility               and convenience            for eligible      voters     includes a partnership       with the Office

   of the Secretary      of State to          deploy   mobile EIC stations across the state                   in   counties   without driver license

   offices    and to augment          our service       in   those counties          with high population            concentrations



   Should you have additional                 questions      or need      more information               please do   not hesitate   to   contact us



   Sincerely




                      11                                                                                                                 2:13-cv-193
                                                                                                                                                              exhibitsticker.com




                                                                                                                                         09/02/2014
   Steven    C McCraw
   Director
                                                                                                                                         DEF1477


                                                                  EQUAL OPPORTUNITY         EMPLOYER
                                                                 COURTESY  SERVICE          PROTECTION




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                             Case 2:13-cv-00193 Document 775-40 Filed on 11/19/14 in TXSD Page 2 of 3

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                                                                                                                                                                            DIRECTOR
SENATOR RODNEY                          ELLIS                                                                                                              DEPT OF PUBLA
                  District   13

                                                                                                                                                                                    Chair     Open Government
PRESIDENT             PRO TEMPORE                                                                                                                                                   Natural      Resources

           1999          2000                                                                                                                                                       Transportation
                                                                                                                                                                                    State   Affairs




              September 19 2013




              Mr Steve McCraw
              Director                   Texas Department of Public Safety
              PO Box 4087
              Austin Texas 78773


              Dear Mr McCraw


              I     recently             saw a media report regarding the Department of Public Safetys                                                      DPS implementation
              of the voter photo                       identification        law        Specifically                   my understanding              is   that   when an individual
              requests                  an election identification            certificate                   at   a DPS driver license office                     DPS     staff

              immediately determines whether that individual has any outstanding                                                                     warrants          If    a warrant      is


              located               I    am told that information is immediately turned over to the Highway                                                        Patrol       Division



              I     therefore have the following questions



                                   Can you explain DPSs policies and procedures                                                 regarding individuals             requesting an
                                   election      identification      certificate                      As you can expect                    I   am especially interested in
                                   whether a search           for   warrants           is   indeed               conducted           for
                                                                                                                                           anyone    seeking      an election
                                   identification certificate             and how                it    is   determined whether such a search                            is   conducted

                                   If    such a search for warrants                is   conducted                     what is the specific protocol                 for      what is done
                                   with the information              If      the information is turned over to the Highway                                          Patrol Division

                                   are there policies         regarding what the officers                                    do next or do they have complete                     discretion

                                   in acting
                                                  upon the information they receive from the Driver License Division
                                   Will an individual that              is   found          to    have outstanding warrants still                          be issued an election

                                   identification         certificate



              I    understand and respect                     DPSs role as a law enforcement agency                                              and the difficult           duty you have

           At the same time I hope you can appreciate                                                    that      the threat of possible arrest for merely seeking

           to         exercise ones right to vote                    will     inevitably have a detrimental impact on the number of election

              identification certificates                     issued and thus the ability                               of otherwise            eligible   voters to have their

           voice              heard via the ballot box



           Given the                     fact   that   we are less than two months away from election day and                                                    less   than a month

           away from the                        registration    deadline           I   ask that you respond in writing as soon as possible




      Lyric       Centre                                                                                PO Box 12068                                                           2440 Texas Parkway       Suite   110

440 Louisiana Suite               575                                                                 Austin Texas 78711                                                         Missouri   City Texas 77489

 Houston      Texas 77002                                                                            512 4630113                                                                     281 2612360
   713 2360306                                                                                     FAX 512 4630006                                                                 FAX 281 2614726
 FAX 713 2360604                                                                                 Dial   711      For Relay   Calls



                                                                                EMail rodneyellissenatestatetxus




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      Case 2:13-cv-00193 Document 775-40 Filed on 11/19/14 in TXSD Page 3 of 3

Mr Steve McCraw
Page 2 of 2


I   look forward to working   with you to ensure that   all   eligible   Texas voters are able   to   comply
with the voter ID   law


Sincerely



                      00

Rodney Ellis




                                                                                                               TEX0507731
